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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     :       CRIMINAL NO. 1:16-cr-082-03
                                             :
               v.                            :       (Judge Kane)
                                             :
SCOTT LANE,                                  :
                                             :
                      Defendant              :
                                             :

                                            ORDER


       WHERE AS, this 29th day of January 2018, there being no objections filed to the

Magistrate Judge’s Report and Recommendation issued January 11, 2018, IT IS HEREBY

ORDERED that this Court accepts the Guilty Plea of the Defendant and sets April 25, 2018,

at 10:00 a.m. as the sentencing date in the above case. Said sentencing shall be held in front of

Judge Kane in Courtroom No. 4, Federal Building, Harrisburg, Pennsylvania.




                                                     S/ Yvette Kane
                                                     Yvette Kane, Judge
                                                     United States District Court
                                                     Middle District of Pennsylvania
